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14
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                        OAKLAND DIVISION
16

17    WHATSAPP INC., a Delaware corporation,
                                        )         Case No. 4:19-cv-07123-PJH
      and FACEBOOK, INC., a Delaware    )
18    corporation,                      )
                                        )         PLAINTIFFS’ NOTICE OF MOTION
19                    Plaintiffs,       )         AND MOTION TO COMPEL
                                        )         DISCOVERY; MEMORANDUM OF
20           v.                         )         POINTS AND AUTHORITIES IN
                                        )         SUPPORT
21    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )         DISCOVERY MATTER
22                                      )
                      Defendants.       )          Date:    September 9, 2020
23                                      )          Time:    9:00 a.m.
                                        )          Ctrm:    3
24                                      )
                                        )          Judge:   Hon. Phyllis J. Hamilton
25                                      )
                                        )
26                                      )          Action Filed: October 29, 2019
                                        )
27                                      )

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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that on September 9, 2020, at 9:00 a.m., or as soon thereafter as

 3   the matter may be heard, Plaintiffs WhatsApp Inc. (“WhatsApp”) and Facebook, Inc. (“Facebook,”

 4   and together with WhatsApp, “Plaintiffs”), will bring on for hearing before the Honorable Phyllis J.

 5   Hamilton, in Courtroom 3 of the United States District Court for the Northern District of California,

 6   located at 1301 Clay Street, Oakland, California, a motion under Federal Rule of Civil Procedure

 7   37(a)(3)(B)(iv) compelling Defendants NSO Group Technologies Limited and Q Cyber

 8   Technologies Limited (together, “NSO”) to search for and produce documents under Rule 34. The

 9   parties have satisfied the requirements of Rule 37 and Civil L.R. 37-1(a) by attempting in good

10   faith to resolve the disputed issues raised herein.

11          The Motion is based on this Notice of Motion and Motion and the Memorandum of Points

12   and Authorities herein, the Declaration of Antonio J. Perez-Marques in Support of the Motion

13   (“Perez-Marques Decl.”) filed concurrently herewith, the pleadings and papers on file in this action,

14   the arguments of counsel, and any other matter that the Court may properly consider.

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      Dated: August 5, 2020                       Respectfully Submitted,
 1

 2                                                DAVIS POLK & WARDWELL LLP

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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2          Plaintiffs WhatsApp Inc. (“WhatsApp”) and Facebook, Inc. (“Facebook,” and together with

 3   WhatsApp, “Plaintiffs”) respectfully submit this Memorandum of Points and Authorities in support

 4   of their Motion to Compel Defendants NSO Group Technologies Limited and Q Cyber

 5   Technologies Limited (together, “NSO”) to search for and produce documents in response to

 6   Plaintiffs’ First Requests for Production under Rule 34.

 7                                    PRELIMINARY STATEMENT

 8          Plaintiffs served their First Requests for Production (“RFPs”) on NSO two months ago, on

 9   June 2, 2020. Yet NSO has refused to produce any documents—not even those it concedes are

10   relevant—and has indicated that when (or if) it does eventually agree to produce any documents, it

11   will do so only with respect to a small subset of Plaintiffs’ allegations. NSO has effectively granted

12   itself a stay from discovery, which is inconsistent with this Court’s ruling denying NSO’s motion to

13   stay, and its positions on the timing and on document discovery are at odds with the law and the

14   claims at issue.

15          As a result, this Motion to Compel raises two threshold issues that cut across NSO’s

16   responses to Plaintiffs’ RFPs and that, in the absence of Court resolution, will preclude further

17   progress in party document discovery. First, the Motion addresses a timing-related objection,

18   namely: whether, as Plaintiffs contend, NSO must proceed with the collection and production of

19   documents at this time, or whether, as NSO claims, its noticed appeal of the Court’s denial of its

20   motion to dismiss excuses NSO of all of its discovery obligations. As set forth in Exhibit B-1, NSO

21   has objected to 26 of Plaintiffs’ 29 requests on this ground (while refusing on other grounds to

22   produce any documents in response to the remaining three requests). Second, the Motion addresses

23   a scope-related objection: namely whether Plaintiffs are entitled to discovery on the full scope of

24   their claims, or only, as NSO claims, on a subset of those claims relating to one particular brand of

25   spyware and one particular set of victims that Plaintiffs were able to identify prior to discovery. As

26   set forth in Exhibit B-2, NSO objected on this basis to 27 of Plaintiffs’ 29 requests, in response to

27   which NSO has either refused to produce any documents or limited the scope of what it will

28   (eventually) produce. On each issue, NSO’s position should be rejected. NSO should be ordered
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     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
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 1   to proceed immediately with the collection and production of documents in response to the full

 2   scope of Plaintiffs’ requests.

 3          1.      NSO’s Pending Appeal Does Not Excuse its Discovery Obligations (Request

 4   Nos. 1–22, 24, 26–28.). NSO’s objection to producing discovery based on its pending interlocutory

 5   appeal is improper for several reasons. First, the Ninth Circuit will merely decide whether the

 6   putative immunity defenses raised by NSO are legally available to it. Regardless of the outcome on

 7   appeal, NSO must still establish a factual basis to support those putative legal immunity defenses.

 8   Second, an appeal of NSO’s purported immunity defenses does not give rise a blanket stay of

 9   discovery because those “immunities” operate merely as defenses to liability, and do not excuse

10   NSO from facing suit or participating in discovery. Third, the immunity defenses on appeal do not

11   pertain to claims based on NSO’s own conduct in violation of the WhatsApp Terms of Service and

12   state and federal law.

13          2.      Discovery Is Not Limited to One Brand of Spyware or One Set of Victims

14   (Request Nos. 1–24, 26, 28–29). NSO’s position regarding the scope of discovery is directly

15   contrary to the Federal Rules and well-settled law. In effect, NSO claims that Plaintiffs are only

16   entitled to take discovery concerning a subset of facts set forth in the complaint—i.e., only the facts

17   regarding NSO’s publicly known spyware product “Pegasus.” Not so. The complaint sets forth

18   that NSO developed multiple types of spyware, including “Pegasus and its variants.” Compl. ¶ 24

19   (emphasis added). Moreover, it is well established that plaintiffs are entitled to “discovery

20   regarding their claims generally, not just the specific factual claims pled in their Complaint.”

21   Vallabharpurapu v. Burger King Corp., 276 F.R.D. 611, 615 (N.D. Cal. 2011).

22          NSO is in the business of developing, marketing, and distributing spyware used against

23   Plaintiffs and their users. Even without the benefit of discovery and before filing suit, Plaintiffs

24   were able to identify over a thousand users—including journalists, attorneys, and activists—who

25   were targeted by NSO’s spyware, in attacks that breached the terms of Plaintiffs’ service and

26   violated state and federal law. See Compl. ¶¶ 29–43. Based on NSO’s role in developing, testing,

27   using, and causing the use of its suite of spyware against Plaintiffs and their users, Plaintiffs have

28   asserted claims under the Computer Fraud and Abuse Act (“CFAA”) and the California
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 1   Comprehensive Computer Data Access and Fraud Act (“CCCDAFA”), as well as for breach of

 2   contract. Id. ¶¶ 49–73.1

 3          The discovery sought by Plaintiffs is directly relevant to their claims and is proportional to

 4   the needs of the litigation. Specifically, the RFPs that Plaintiffs have propounded in support of

 5   their claims concern multiple variants of NSO’s spyware, including its development, marketing,

 6   testing, and use. In response to those requests—both as a general objection and in response to

 7   nearly each and every request—NSO refused to collect or produce any documents other than a

 8   narrow set of documents that relate solely to one publicly known brand of its spyware (Pegasus) or

 9   one particular set of known victims (the 1,400 individuals that Plaintiffs were able to identify

10   before suit). See Perez-Marques Decl. Ex. B (Defs.’ Resps. & Objs. to Pls.’ First Req. for Produc.).

11   This position first relies on a misreading of the Complaint. Moreover, it is contrary to law, since

12   discovery is not limited to the specific factual assertions in a complaint. See Vallabharpurapu, 276

13   F.R.D. at 615. Accordingly, NSO should be ordered to proceed with collecting and producing all

14   responsive documents without further delay.

15                                             BACKGROUND

16          On June 2, 2020, Plaintiffs served their First RFPs on NSO. Perez-Marques Decl. Ex. A

17   (Pls.’ First Reqs. for Produc.). These document requests were aimed at obtaining documents

18   concerning, among other things, the development of NSO spyware and NSO’s actions in probing

19   the WhatsApp network. See, e.g., Perez-Marques Decl. Ex. A (Pls.’ First Reqs. for Produc.) at

20   Reqs. No. 4, 5. On July 6, 2020, NSO served its responses and objections. Id. Ex. B (Defs.’ Resps.

21   & Objs. to Pls.’ First Reqs. for Produc.). As relevant here, NSO objected to the requests “to the

22   extent they seek information that is not related or relevant to Plaintiffs’ allegations that Defendants

23   operated a software called ‘Pegasus’ with respect to the ‘Target Devices’ described in the

24   Complaint”—i.e., the 1,400 devices that Plaintiffs were able, prior to any discovery, to identify as

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      Although this Court dismissed Plaintiffs’ trespass to chattels claim, it granted Plaintiffs leave to
27   amend by August 6, 2020. See Order Granting in Part and Denying in Part Motion to Dismiss and
     Denying Motion to Stay Discovery (“Order”) at 44–45, Dkt. No. 111.
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 1   having been attacked in April and May of 2019.2 NSO has indicated that when it does eventually

 2   produce documents, it will not produce anything beyond that limited scope. Id. NSO further

 3   objected that it would not produce any documents at all, including the documents whose relevance

 4   it does not dispute, until “any interlocutory appeal of such decision” on the “subject matter

 5   jurisdiction of this action” is “determined.” Id. Ex. B, ¶ 3.

 6           On July 9, 2020, Plaintiffs sent a letter to NSO noting that NSO’s threshold objections

 7   lacked any legal basis and seeking “to determine whether . . . we are at [an] impasse as a result of

 8   these positions,” and “whether [NSO is] standing on these objections or will agree to withdraw

 9   them.”3 Perez-Marques Decl. Ex. C (July 9, 2020 Letter from A. Perez-Marques to J.

10   Akrotirianakis) at 2. On July 13, 2020, NSO responded, reasserting its position as to the

11   appropriate scope of discovery, but suggesting, among other things, that further meet-and-confer

12   discussions were warranted. Id. Ex. D (July 13, 2020 Letter from J. Akrotirianakis to A. Perez-

13   Marques). Plaintiffs’ counsel responded the next day, confirming their willingness to meet-and-

14   confer, further substantiating Plaintiffs’ views as to the appropriate scope of discovery, and

15   proposing dates when they were available. Id. Ex. E (July 14, 2020 Letter from A. Perez-Marques

16   to J. Akrotirianakis).

17          On July 21, 2020, July 31, 2020, and August 3, 2020, the Parties conducted telephonic

18   meet-and-confers that included lead counsel for each side. Id. ¶¶ 3, 11, 12. During those

19   discussions, NSO maintained its position as to the limited scope of discovery and acknowledged

20   that the parties had a fundamental disagreement on that issue that would require Court resolution.

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22     The objections at issue in this Motion are set forth in General Objection No. 2 of NSO’s responses
     and objections, see Perez-Marques Decl. Ex. B (Defs.’ Resps. & Objs. to Pls.’ First Reqs. for
23   Produc.) at 2, and in NSO’s specific objections to each relevant RFP. The relevant portions of the
     responses and objections at issue in each section of the Motion have been attached as Exhibits B-1
24   and B-2, and have been highlighted for the Court’s convenience. See N.D. Cal. Civ. R. 37-2.
     3
       The correspondence also addressed NSO’s improper objection to proceeding with discovery based
25   on the pendency (at that time) of NSO’s motion to stay discovery. Although that objection was
     plainly improper, see HRC-Hainan Holding Co., LLC v. Yihan Hu, No. 19-mc-80277-TSH, 2020
26   WL 1643786, at *2 (N.D. Cal. Apr. 2, 2020) (“The filing of a motion to stay discovery does not
     automatically relieve the movant from continuing to comply with its discovery obligations.”
27   (citation omitted)), it has now been rendered moot by the Court’s order denying the motion to stay,
     see Order at 45, Dkt. No. 111.
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 1   Id. NSO also maintained its position that party discovery should not go forward during the

 2   pendency of its noticed interlocutory appeal. Id. On that basis, NSO has not only refused to

 3   produce any documents, but also refused to make the initial disclosures required by Rule 26(a)

 4   “until . . . the resolution of any interlocutory appeal from the Court’s decision” on its motion to

 5   dismiss. Joint Case Management Statement at 9, Dkt. No. 76. Plaintiffs served their initial

 6   disclosures on August 4, 2020. Perez-Marques Decl. ¶ 13. There is every reason to expect, based

 7   on the positions taken by NSO in its court filings, responses and objections, and meet-and-confer

 8   discussions, that NSO will continue to refuse on this basis to respond to discovery requests. The

 9   parties having exhausted the meet-and-confer process, these issues are now ripe for judicial

10   intervention.4

11                                               ARGUMENT

12       I.   NSO’S INTERLOCUTORY APPEAL DOES NOT RELIEVE IT OF ITS
              DISCOVERY OBLIGATIONS (REQUEST NOS. 1–22, 24, 26–28)
13

14            As a blanket position in discovery and in specific response to 26 of Plaintiffs’ 29 Requests

15   for Production, NSO has indicated that it will refuse to produce any documents until the Ninth

16   Circuit resolves its noticed interlocutory appeal of this Court’s decision on NSO’s motion to

17   dismiss. See Defs.’ Reply in Support of Mot. to Stay, Dkt. No. 108 at 3 n.4; see also Perez-

18   Marques Decl. Ex. B (Defs.’ Resps. & Objs. to Pls.’ First Reqs. for Produc.). 5 In accordance with

19

20   4
       In addition to the two threshold objections addressed in this Motion—timing and scope—NSO
21   has also lodged a number of unsubstantiated and baseless objections, including, for example: that
     NSO is precluded by unidentified provisions of Israeli or other supposedly applicable laws from
22   producing unspecified documents, id. Ex. B (Defs.’ Resps. & Objs. to Pls.’ First Reqs. for Produc.)
     at General Obj. No. 6–7; and that certain commonly understood phrases like “take advantage of,”
23   id. at General Obj. No. 12, “using,” e.g., id. at Req. No. 18, and “processes” and “methods,” e.g.,
     id. at Req. No. 14, are “vague and ambiguous.” Based on the parties’ meet-and-confer discussions,
24   it remains unclear whether NSO intends to stand on these objections, as they have with the two
     threshold objections. Should NSO invoke any secondary objection to refuse to produce documents,
25   Plaintiffs reserve the right to address such arguments when raised. See id. Ex. B (Defs.’ Resps. &
     Objs. to Pls.’ First Reqs. for Produc.).
26   5
       For the avoidance of doubt, NSO has not agreed to produce any documents in response to any
     requests at this time. Rather, the only Requests to which this issue is not immediately applicable
27   are three requests (Request Nos. 23, 25, and 29) as to which NSO has refused to produce any
     documents whatsoever. Id.
28
                                                      5
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 1   Local Rule 37-2, Exhibit B-1 sets forth each of those 26 requests for production in full, followed

 2   immediately by the objections and/or responses thereto. NSO’s refusal to proceed with the

 3   collection and production of documents pending its appeal is improper and should be rejected on

 4   multiple grounds.

 5          First, discovery on NSO’s immunity claims will be necessary even if it were to prevail on

 6   its interlocutory appeal, because those defenses turn on factual development that has not yet

 7   occurred. Accordingly, those fact-based proceedings can and should occur now because they are

 8   not involved in the pending appeal. An appeal seeking review of an interlocutory order deprives

 9   the district court of jurisdiction solely as to “those aspects of the case involved in the

10   appeal.” Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982); see also City of Los

11   Angeles, Harbor Div. v. Santa Monica Baykeeper, 254 F.3d 882, 886 (9th Cir. 2001) (“[T]he filing

12   of a notice of interlocutory appeal divests the district court of jurisdiction over the particular issues

13   involved in that appeal.” (emphasis added)). Here, the only issues that would be “involved in the

14   appeal” of NSO’s immunity defenses are whether NSO is potentially eligible to claim conduct-

15   based foreign official immunity or derivative foreign sovereign immunity. See Order at 9–15, Dkt.

16   No. 111. Thus, even if NSO’s putative immunity defenses are found to be legally available, the

17   evidence that Plaintiffs seek would be necessary for NSO to establish (and for Plaintiffs to

18   challenge) whether there is a factual basis for those defenses to apply here. The questions requiring

19   discovery would include whether and to what extent NSO’s conduct constitutes “official” acts, and

20   whether and to what extent NSO was acting at the direction of a sovereign government. These are

21   factual questions that are separate from the legal issues “involved in the appeal”—i.e., whether

22   NSO’s claimed defenses are available as a matter of law. See Section I.A, infra.

23          Second, discovery on the merits may proceed while NSO’s appeal is pending because the

24   immunities that NSO claims are not within the narrow class of defenses that provide immunity

25   from suit. While an immunity from suit can require district court proceedings to pause pending the

26   outcome of an appeal, an appeal claiming an immunity from judgment does not. Here, NSO’s

27   claimed immunities, even if applicable, merely provide immunity from judgment. Even if the

28   Ninth Circuit disagrees with this Court’s legal conclusions regarding those defenses, NSO’s
                                                      6
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 1   purported immunity would not be infringed by pretrial proceedings here, including discovery, and

 2   discovery would be needed to determine whether the immunities claimed apply to NSO’s conduct.

 3   There is accordingly no bar to proceeding with discovery and no unfairness in doing so. See

 4   Section I.B, infra.

 5          Third, because Plaintiffs bring claims, including for breach of contract and under state and

 6   federal law, based on NSO’s own conduct in developing, testing, and marketing illegal spyware

 7   (which it has never contended was directed by any sovereign), discovery can and should proceed—

 8   at a bare minimum—on those claims and that conduct while the interlocutory appeal is

 9   pending. See Section I.C, infra.

10          NSO has contended in meet-and-confer discussions that its noticed appeal divests this Court

11   of jurisdiction to proceed with discovery of NSO. Perez-Marques Decl. ¶¶ 3, 12. 6 On that basis,

12   NSO has refused to proceed with the collection and production of any of its own documents,

13   including even those that NSO concedes are relevant and discoverable. Perez-Marques Decl. Ex. B

14   (Defs.’ Resps. & Objs. to Pls.’ First Reqs. for Produc.). Notably, despite its position that the Court

15   lacks jurisdiction, NSO does not dispute that third-party discovery may proceed—and indeed, in

16   meet-and-confer discussions NSO’s counsel has indicated its intention to produce documents

17   promptly on behalf of certain non-party clients, see id. ¶ 11. In addition, NSO has itself sought

18   relief from this Court, subsequent to and notwithstanding its appeal, with respect to another

19   discovery matter, namely the consideration and entry of a protective order that is disputed by

20   Plaintiffs, and indicated its intent to proceed with other, unspecified filings before this Court. See

21   id. ¶¶ 11–12; Defs.’ Mot. for Entry of Protective Order, Dkt. No. 114. Putting aside whether

22   NSO’s appeal is properly taken, NSO is incorrect in suggesting that its appeal excuses its discovery

23   obligations or prevents the Court from moving forward with discovery.

24

25

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27   6
      NSO has not sought or obtained a stay pending appeal from this Court, and the Court denied as
     moot NSO’s prior request to stay discovery. Order at 45, Dkt. No. 111.
28
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 1

 2

 3          A.      This Court Retains Jurisdiction Over the Discovery Sought by Plaintiffs,
                    Which Does Not Concern Matters Involved in the Appeal and Is Necessary to
 4                  Establish NSO’s Putative Immunity Defenses If They Are Found to Be Legally
                    Available
 5

 6          Discovery should continue while NSO pursues its interlocutory appeal because the appeal

 7   involves only limited legal issues that do not involve the discovery sought, and matters not

 8   involved in the appeal should proceed before this Court. “[W]here an appeal is taken from a

 9   judgment which does not finally determine the entire action, the appeal does not prevent the district

10   court from proceeding with matters not involved in the appeal.” Britton v. Co-op Banking Grp.,

11   916 F.2d 1405, 1411 (9th Cir. 1990) (emphasis added); Plotkin v. Pac. Tel. & Tel. Co., 688 F.2d

12   1291, 1293 (9th Cir. 1982) (“[I]t is firmly established that an appeal from an interlocutory order

13   does not divest the trial court of jurisdiction to continue with other phases of the case.”). For

14   instance, in Britton, the Ninth Circuit held that discovery could continue while the defendant

15   appealed the district court’s denial of his motion to compel arbitration, as the “issue of arbitrability

16   was the only substantive issue presented in this appeal.” 916 F.2d at 1412; see also Schering Corp.

17   v. First DataBank Inc., No. C 07-01142 WHA, 2007 WL 1747115, at *4 (N.D. Cal. June 18, 2007)

18   (holding that the defendant’s interlocutory appeal of a denial of an immunity defense “did not

19   divest this Court of jurisdiction to rule on pretrial and case-management issues, including

20   discovery” because “discovery and other pretrial matters are not relevant to the subject of the

21   appeal”); Nevada v. Bank of Am. Corp., No. 3:11-cv-00135-RCJ (WGC), 2012 WL 13055575, at

22   *2 (D. Nev. Jan. 31, 2012) (concluding that an interlocutory appeal “has neither divested the court

23   of jurisdiction nor effected a stay of proceedings” and that it would “promote[] judicial economy”

24   for the court to resolve “matters not on appeal, such as [a] discovery coordination dispute”); Town

25   of Browning v. Sharp, No. CV-14-24-GF-BMM, 2015 WL 1246543, at *1–2 (D. Mont. Mar. 17,

26   2015) (retaining jurisdiction to decide “independent issues presented in the underlying case” while

27   the defendants appealed ruling denying tribal sovereign immunity). Likewise, here, the only

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 1   substantive issues that will be presented on appeal are narrow legal questions. 7 The discovery

 2   sought by Plaintiffs is not involved in the appeal, and its necessity does not turn on the outcome of

 3   the appeal.

 4          First, NSO seeks to invoke conduct-based foreign official immunity. Order at 11, Dkt. No.

 5   111. As its name suggests, and unlike status-based foreign official immunity—which applies to

 6   certain foreign officials “regardless of the substance of the claim”—conduct-based foreign official

 7   immunity only applies if the acts are performed in the foreign official’s “official capacity.” Lewis

 8   v. Mutond, 918 F.3d 142, 145 (D.C. Cir. 2019). Plaintiffs’ allegations pertain to a wide range of

 9   acts undertaken by NSO itself, including the design, development, manufacture, distribution, and

10   operation of various forms of spyware. See, e.g., Compl. ¶¶ 24, 32. But there has been no

11   discovery to determine whether any of that conduct (much less all of it) can be viewed as official

12   acts. To the contrary, “[a]t this stage, the boundary between defendants’ conduct and their clients’

13   conduct is not clearly delineated or definitively resolved . . . .” Order at 19, Dkt. No. 111. And, as

14   discussed below, see Section I.C, infra, there is a broad swath of conduct at issue here that NSO

15   does not appear to contend was undertaken on behalf of foreign officials.

16          Second, NSO also seeks to shield itself through the doctrine of derivative foreign sovereign

17   immunity. Order at 12, Dkt. No. 111. If such a defense is available at all in this Circuit, and if it is

18   available to foreign entities, NSO would still have to establish, factually, whether and to what

19   extent it was acting at the direction of foreign governments. See Butters v. Vance Int’l, Inc., 225

20   F.3d 462, 467 (4th Cir. 2000) (granting derivative foreign sovereign immunity to American citizen

21   because “the evidence here establishes” that foreign officials were responsible for challenged action

22

23   7
       This Court’s decision denying NSO’s motion to dismiss on immunity grounds was based on
     discrete legal findings. First, the Court rejected NSO’s attempt to invoke conduct-based foreign
24   official immunity on the ground that the Court can “craft injunctive relief that does not require a
     foreign sovereign to take an affirmative action.” Order at 12, Dkt. No. 111. Whether a defendant
25   may invoke this particular immunity defense despite a court’s ability to craft such judicial relief is a
     purely legal question, and the discovery sought by Plaintiffs has no bearing on it. Second, as to
26   derivative foreign sovereign immunity, the Court held that—even assuming such a defense is
     recognized in this Circuit—it cannot be invoked if the party seeking immunity is “not incorporated
27   or formed in the United States.” Id. at 14–15. Again, the questions that NSO is likely to raise on
     appeal as to this defense are purely legal, and the discovery sought here has no bearing on them.
28
                                                      9
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 1   (emphasis added)). It is in fact notable that in the case that NSO relies upon for its derivative

 2   foreign sovereign immunity argument, such immunity was established through discovery. Id. at

 3   465.

 4          Because the discovery sought by Plaintiffs does not concern “matters . . . involved in the

 5   appeal” and will need to go forward to establish the claimed immunities even if they are available,

 6   NSO’s appeal does not divest this Court of jurisdiction to proceed with discovery. 8

 7          B.      NSO’s Interlocutory Appeal Does Not Divest the Court of Jurisdiction to
                    Proceed with Discovery Because NSO’s Putative Immunity Defenses Do Not
 8                  Provide a Right Not to Be Tried
 9          NSO cannot avoid discovery by invoking a narrow exception that applies only when an

10   interlocutory appeal pertains to issues such as double jeopardy and certain status-based immunities

11   that entail an immunity from suit, also known as a “right not to be tried.” See, e.g., Nixon v.

12   Fitzgerald, 457 U.S. 731, 742 (1982) (absolute immunity); Mitchell v. Forsyth, 472 U.S. 511, 530

13   (1985) (qualified immunity); Puerto Rico Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506

14   U.S. 139, 144–45 (1993) (Eleventh Amendment immunity); Abney v. United States, 431 U.S. 651,

15   660 (1977) (double jeopardy); see also United States v. Smith, No. 3:16-cr-00086-SLG-1, 2020 WL

16   86191, at *1 & n.4 (D. Alaska Jan. 7, 2020) (discussing the concept of the “right not to be tried”

17   and the “divestiture of jurisdiction rule” associated with it). Defendants protected by these specific

18   doctrines are excused from even standing trial, so proceeding with discovery while an appellate

19   court determines whether the immunity applies would vitiate the very immunity that is claimed.

20

21

22

23   8
       NSO has also indicated that it intends to appeal the Court’s denial of NSO’s motion for failure to
     join necessary parties under Rule 19. See Mediation Questionnaire at 2, WhatsApp Inc. v. NSO
24   Group Techs. Ltd., No. 20-16408 (9th Cir. July 30, 2020) (Dkt. No. 3). That ruling is not
     appealable as a collateral order. See Alto v. Black, 738 F.3d 1111, 1130 (9th Cir. 2013) (holding
25   that the denial of a Rule 12(b)(7) motion to dismiss “for inability to join a required party under
     Rule 19 [is not] among the narrow class of rulings collaterally appealable”). In any event, as with
26   NSO’s immunity defenses, an appeal of this Court’s Rule 19 decision would only raise a narrow
     legal question as to whether “the court can craft injunctive relief that excludes or carves out any
27   sovereign nation.” Order at 34, Dkt. No. 111. The discovery sought here does not implicate that
     issue.
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                                                      10
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 1   See Mitchell, 472 U.S. at 526 (describing “immunity from suit” as an immunity that is “effectively

 2   lost if a case is erroneously permitted to go to trial”). 9

 3           That doctrine has no bearing here. The Supreme Court has cautioned that courts are

 4   required to “view claims of a ‘right not to be tried’ with skepticism, if not a jaundiced eye.” Digital

 5   Equip. Corp. v. Desktop Direct, Inc., 511 U.S. 863, 873 (1994); see United States v. United States

 6   ex rel. Thrower, No. 18-16408, slip op. at 14 (9th Cir. Aug. 4, 2020) (citing Digital Equipment);

 7   see also Schering, 2007 WL 1747115, at *2 (“[C]ourts should not interpret the collateral order too

 8   expansively lest every right that could be enforced appropriately by pretrial dismissal be loosely

 9   described as conferring a right not to stand trial.” (internal quotations and citations omitted)). As

10   explained below, the limited and fact-bound immunities claimed by NSO do not fall in that

11   narrowly circumscribed category that would protect NSO from trial, much less from discovery.

12   Even if legally available, they would protect NSO only from liability, not from suit or discovery.

13   To the contrary, as the Court held in addressing personal jurisdiction, because determining whether

14   these immunities apply to NSO’s conduct would require discovery, the invocation of those

15   defenses cannot possibly preclude discovery from going forward. An appeal on these bases

16   accordingly does not and cannot divest the court of jurisdiction to proceed with discovery.

17           The putative immunity defenses raised by NSO do not establish a “right not to be tried,” or

18   a right to avoid producing discovery. Rather, each of the two purported conduct-based and

19   derivative immunities asserted by NSO would provide, at most, an immunity from judgment—upon

20   establishment of certain factual predicates—rather than a blanket immunity from all aspects of

21   litigation, and in particular discovery.

22           First, the conduct-based foreign official immunity claimed by NSO would provide

23   immunity only from judgment, not from meeting its discovery obligations. This Court’s order

24   recognized as much in holding that the immunity did not warrant dismissal because NSO’s “foreign

25
     9
       In addition, even where defendants invoke a “right not to be tried,” courts do not apply a “blanket
26   [rule] that any and all discovery . . . should be denied pending what may be a lengthy appeal.”
     Schering, 2007 WL 1747115, at *4. Rather, the continuation of pretrial proceedings “must be
27   evaluated matter by matter,” and where appropriate, “jurisdiction still exists to decide discovery
     issues, rule on pretrial motions, and set dates leading up to trial.” Id. at *4–5.
28
                                                      11
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 1   sovereign customers would [not] be forced to pay a judgment against defendants,” and “the court

 2   [could] craft injunctive relief that does not require a foreign sovereign to take an affirmative

 3   action.” Order at 12, Dkt. No. 111 (emphasis added). Other authority confirms that reasoning. As

 4   the D.C. Circuit has explained, foreign official conduct-based immunity bars actions only where “a

 5   judgment against the official would bind (or be enforceable against) the foreign state.” Lewis v.

 6   Mutond, 918 F.3d 142, 146 (D.C. Cir. 2019) (interpreting Restatement (Second) of Foreign

 7   Relations Law § 66(f) (1965)); see also Doğan v. Barak, 932 F.3d 888, 894 (9th Cir. 2019) (relying

 8   on Restatement § 66(f)). In Lewis, the D.C. Circuit rejected the notion that conduct-based foreign

 9   official immunity protects foreign officials from discovery, concluding that “[t]aking . . . foreign

10   officials away from their official duties”—as may occur in discovery—constitutes “collateral

11   effects [that] are too attenuated to be equated with enforcing a rule against a foreign state.” 918

12   F.3d at 146–47. To whatever extent NSO is protected by conduct-based foreign official immunity,

13   the protection would be only from an enforceable judgment, not from discovery. 10

14           Second, to the extent that derivative foreign sovereign immunity exists at all, it too would

15   only provide an immunity from judgment and therefore would not preclude Plaintiffs from

16   obtaining discovery from NSO. This much is clear from the model for a derivative foreign

17   sovereign immunity claim: i.e., derivative domestic sovereign immunity. See Butters, 225 F.3d at

18   466 (citing Yearsley v. W.A. Ross Constr. Co., 309 U.S. 18, 21–22 (1940)); see also Martin v.

19   Halliburton, 618 F.3d 476, 483, 485 (5th Cir. 2010) (identifying “the relevant inquiry in

20   determining whether an ‘immunity’ is subject to immediate appeal under the collateral order

21   doctrine [as] whether the asserted immunity is from suit or merely from liability” and holding based

22

23
     10
        In Doğan v. Barak, the Court of Appeals stated that “the whole point of immunity is to enjoy ‘an
24   immunity from suit rather than an immunity from liability,’” see 932 F.3d at 895, but the case from
     which Doğan quoted its description of immunity concerned immunity under the Foreign Sovereign
25   Immunities Act, not conduct-based foreign official immunity or derivative foreign sovereign
     immunity, see id. (citing Compania Mexicana De Aviacion, S.A. v. U.S. Dist. Court for Cent. Dist.
26   of California, 859 F.2d 1354, 1358 (9th Cir. 1988)). And it is clear in the Ninth Circuit that not
     every form of immunity is an immunity from suit. See Alaska v. United States, 64 F.3d 1352, 1357
27   (9th Cir. 1995) (federal sovereign immunity is not an immunity from suit).
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                                                      12
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 1   on circuit precedent that a denial of derivative domestic sovereign immunity is not an immediately

 2   appealable collateral order).

 3          The fact that a derivative immunity confers immunity from liability only, and not from suit

 4   or a basis to refuse to produce discovery, is also perfectly logical, because the ability to invoke

 5   derivative immunity implicates factual questions requiring discovery as to the relationship between

 6   the sovereign and the party purporting to invoke the sovereign’s immunity. Derivative domestic

 7   sovereign immunity thus cannot arise until it is shown that the contractor complied with both

 8   “federal law and the Government’s explicit instructions.” Campbell-Ewald Co. v. Gomez, 136 S.

 9   Ct. 663, 672 (2016) (cautioning that while “government contractors obtain certain immunity in

10   connection with work which they do pursuant to their contractual undertakings with the United

11   States[,] . . . [t]hat immunity, . . . unlike the sovereign’s, is not absolute”). Likewise, as explained

12   above, to whatever extent derivative foreign sovereign immunity exists in this Circuit, its

13   applicability would turn on unresolved factual questions requiring discovery—such as the

14   relationship between NSO’s conduct and any purported instructions from sovereigns—which

15   precludes any interpretation of the claimed immunity as an immunity from suit.

16          C.      Discovery Should Proceed As to the Claims to Which NSO’s Putative Defenses
                    Do Not Apply
17

18          NSO’s interlocutory appeal has no impact on this Court’s jurisdiction over claims as to

19   which NSO’s putative defenses do not apply: namely, breach of contract for certain provisions in

20   the WhatsApp Terms of Service and certain violations of federal and state law based on NSO’s

21   own conduct in reverse engineering the WhatsApp app, developing the spyware in the first

22   instance, testing it on WhatsApp systems, and marketing it. See Compl. ¶¶ 1, 5, 22, 30, 35. NSO

23   has argued that it was entitled to sovereign immunity because only sovereign governments use its

24   spyware. Defs.’ Mot. to Dismiss at 6, Dkt. No. 45 (contending that “Defendants license NSO’s

25   Pegasus technology . . . and assist with the training, setup, and installation of the Pegasus

26   technology” but “do not operate the Pegasus technology”). This argument ignores the fact that

27   before any use of the spyware (purportedly by its customers), NSO itself had to reverse-engineer

28   the WhatsApp app as well as different operating systems, identify and test for vulnerabilities, then
                                                      13
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 1   develop computer programs to exploit those vulnerabilities and test the various versions of their

 2   programs. Therefore, NSO’s putative immunity defenses, even if valid, do not apply to a broad

 3   swath of the conduct alleged in the complaint: namely, NSO’s own conduct in developing, testing,

 4   and marketing illegal spyware, apart from the subsequent use of that spyware—conduct that would

 5   plainly violate WhatsApp’s Terms of Service (which prohibit reverse-engineering) and Section

 6   502(c)(6) of the CCCDAFA (which prohibits providing the means to engage in unauthorized

 7   access).11 See Compl. ¶¶ 1, 22, 35. In short, because NSO’s putative immunity defenses have no

 8   bearing on claims that do not relate to the purported use of NSO spyware by sovereign nations, at

 9   the very least discovery related to these claims should proceed during NSO’s interlocutory appeal.

10           District courts in this Circuit have held that an interlocutory appeal from a decision denying

11   an immunity defense does not divest the court of jurisdiction over claims as to which the defense

12   does not apply, and have allowed discovery to proceed on those claims. See, e.g., Breazeale v.

13   Victim Servs., Inc., No. 14-CV-05266-VC, 2015 WL 13687730, at *1–2 (N.D. Cal. Sept. 14, 2015)

14   (explaining that the court “retain[ed] jurisdiction” over claims as to which interlocutory appeal of

15   denial of immunity defense did not apply and rejecting argument that discovery should be stayed as

16   to those claims); see also Columbia Sportswear N. Am., Inc. v. Seirus Innovative Accessories, Inc.,

17   No. 3:19-CV-137-SI, 2020 WL 403722, at *4 (D. Or. Jan. 24, 2020) (allowing discovery on RICO

18   claims to proceed while the defendant appealed denial of immunity on state-law claims and

19   explaining that “[b]ecause Plaintiff’s federal RICO claims will go forward regardless of what

20   happens to Plaintiff’s state claims, the parties should gather their discovery sooner rather than

21   later”). Even in cases unlike this one, where an interlocutory appeal is on one of the narrow bases

22   that does stay discovery, courts still only extend the stay to “claims subject to the immunity

23   defense.” Andrade Rico v. Beard, No. 2:17-cv-1402 KJM DB P, 2019 WL 4127206, at *2 (E.D.

24   Cal. Aug. 30, 2019); see also Donahoe v. Arpaio, No. CV 10-02756-PHX-NVW, 2012 WL

25

26
     11
       Discovery may demonstrate that such conduct also violated the CFAA and other provisions of
27   the CCCDAFA, for example, to the extent that the testing of the spyware involved unauthorized
     access to Plaintiffs’ computers or those of their users.
28
                                                      14
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 1   2063455, at *2 (D. Ariz. June 7, 2012) (“Where an immunity defense applies to one claim and not

 2   another, the claims are separable for purposes of the collateral order doctrine.”).

 3          Plaintiffs’ breach-of-contract claim does not implicate NSO’s sovereign immunity

 4   arguments. The complaint alleges that NSO created WhatsApp accounts while intending to use

 5   them for illegal and unauthorized purposes, and that it used the accounts to reverse engineer

 6   WhatsApp technology in violation of the WhatsApp Terms. See Compl. ¶¶ 19–23, 30–31, 35; id.

 7   Ex. 10 at 61 (“We [NSO] are responsible for the system setup and training before its hand-over to

 8   the customer.”). NSO’s sovereign immunity arguments ignore the allegations that NSO developed

 9   its technology by breaching the WhatsApp Terms—allegations that are unconnected to any later

10   licensing of NSO’s spyware to sovereign governments. See Defs.’ Mot. to Dismiss at 6, Dkt. No.

11   45 (“Defendants’ business model consists of selling NSO’s Pegasus technology.”). NSO has never

12   claimed that sovereign governments were involved in the creation of WhatsApp accounts for the

13   purpose of developing or testing the spyware in the first place. See Compl. ¶¶ 30–31, 35. The

14   WhatsApp Terms also prohibit assisting others in violating the Terms, id. ¶ 23, which NSO did by

15   developing and maintaining the spyware in the first place.

16          Additionally, certain of Plaintiffs’ claims under the CFAA and CCCDAFA do not turn on

17   the outcome of NSO’s appeal. For instance, Section 502(c)(6) of the CCCDAFA provides that any

18   person who “[k]nowingly and without permission provides or assists in providing a means of

19   accessing a computer, computer system, or computer network” has violated the statute. Cal. Penal

20   Code § 502(c)(6); see also Compl. ¶ 61. NSO’s own conduct—including probing Plaintiffs’

21   servers for vulnerabilities and marketing products providing a means to exploit them—violates

22   Section 502(c)(6), regardless of whether or how NSO’s eventual customers may have used the

23   spyware. See Compl. ¶¶ 22, 58–66; see also Craigslist, Inc. v. Naturemarket, Inc., 694 F. Supp. 2d

24   1039, 1057 (N.D. Cal. 2010) (Hamilton, J.) (holding that the defendants violated Section 502(c)(6)

25   “through their . . . selling of their auto-posing software, services, and devices”).

26    II.   DISCOVERY BEYOND ONE BRAND OF SPYWARE AND ONE SET OF KNOWN
            VICTIMS IS RELEVANT AND PROPORTIONAL (REQUEST NOS. 1–24, 26, 28–
27          29)
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     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
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 1            The second improper objection at issue in this Motion is NSO’s refusal to produce any

 2   documents—at any point—beyond documents related to one particular brand of spyware (Pegasus)

 3   and one particular set of WhatsApp users known to have been targeted (the 1,400 targeted users

 4   identified by Plaintiffs prior to any discovery). As both a general objection, which is incorporated

 5   into each response, and specifically in response to 27 of Plaintiffs’ 29 requests, NSO has either

 6   objected to producing any documents at all, or limited the scope of what it says it will (eventually)

 7   produce, on the basis that “information related to technologies other than the Pegasus technology

 8   that was used with respect to the ‘Target Devices’ described in the Complaint (Dkt. No. 1 at 2:6–

 9   7) . . . has no relevance to Plaintiffs’ allegations or any issue in this case.” Perez-Marques Decl.

10   Ex. B (Defs.’ Resps. & Objs. to Pls.’ First Reqs. for Produc.) at Reqs. No. 1–24, 26, 28–29.

11   Indeed, even for those document requests that are aimed at the design and operation of Pegasus

12   specifically, NSO has still refused to produce documents beyond its use with respect to the Target

13   Devices. Id. at Reqs. No. 20–22. In accordance with Local Rule 37-2, Exhibit B-2 sets forth each

14   of the 27 requests for production at issue in full, followed immediately by the objections and/or

15   responses thereto.12 NSO’s objection is premised on a misreading of Plaintiffs’ complaint, and is in

16   any event contrary to law. NSO should be ordered to produce documents beyond this limited

17   scope.

18            Federal Rule of Civil Procedure 26 broadly provides for discovery that is “relevant to any

19   party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1); see

20   also Wit v. United Behavioral Health, No. 14-cv-02346-JCS, 2016 WL 258604, at *11 (N.D. Cal.

21   Jan. 21, 2016) (noting that Rule 26 imposes a “broad” standard and a “low threshold” for

22   relevance). “To limit an examination to matters relevant to only the precise issue presented by their

23   pleadings, would not only be contrary to the express purpose of Rule 26 . . . but also might result in

24   a complete failure to afford plaintiff an adequate opportunity to obtain information that would be

25   useful at the trial.” Miller v. Pancucci, 141 F.R.D. 292, 296 (C.D. Cal. 1992) (quoting Stevenson v.

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27   12
       Again, for the avoidance of doubt, NSO has not agreed to produce any documents in response to
     any requests at this time.
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 1   Melady, 1 F.R.D. 329, 330 (S.D.N.Y. 1940)). As a result, “[c]ourts will rarely reject discovery

 2   requests on the ground the information sought is not ‘relevant to the subject matter’ of the action.”

 3   Campos v. San Francisco State Univ., No. C-97-2326 MMC PJH, 1999 WL 35140127, at *2 (N.D.

 4   Cal. Mar. 19, 1999) (Hamilton, J.). Applying these standards, discovery beyond a single brand of

 5   spyware and single set of known victims is both relevant and proportional to the needs of this case.

 6           A.     Plaintiffs’ Requested Discovery Is Relevant

 7           Plaintiffs bring claims under the CFAA and the CCCDAFA, as well as for breach of

 8   contract. Compl. ¶¶ 49–73. Consistent with their claims, Plaintiffs have sought discovery from

 9   NSO related to NSO’s spyware products. See, e.g., Perez-Marques Decl. Ex. A (Pls.’ First Reqs.

10   for Produc.) at Req. No. 1 (requesting documents concerning “the development, testing,

11   deployment, installation, distribution, use, maintenance, troubleshooting, and/or operation of any

12   NSO Spyware targeting or directed at WhatsApp servers or Users”). NSO objected, asserting that

13   discovery is only relevant as it pertains to “Plaintiffs’ allegations that Defendants operated a

14   software called ‘Pegasus’ with respect to the ‘Target Devices’ described in the Complaint”—i.e.,

15   the 1,400 devices that, prior to any discovery, Plaintiffs were able to identify as targeted in April

16   and May of 2019. Id. Ex. B (Defs.’ Resps. & Objs. to Pls.’ First Reqs. for Produc.) at 2. 13

17           NSO’s objection is based on an inaccurate reading of the complaint. For instance, the

18   complaint plainly states that “on information and belief, Defendants caused Target Devices to

19   download and install additional malware—believed to be Pegasus or another remote access trojan

20   developed by Defendants—from the remote servers for the purpose of accessing data and

21   communications on Target Devices.” Compl. ¶ 24 (emphasis added). The complaint repeatedly

22   refers to NSO’s entire suite of spyware products. See id. ¶ 24 (defining “Pegasus and its variants”

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     13
        NSO goes beyond objecting to specific requests as unrelated to Pegasus or the Target Devices,
24   and instead imposes this restricted view of this case’s subject matter across nearly all of its
     requests—even where it has agreed in principle to produce some documents at some later point.
25   See, e.g., id. at Req. No. 5 (agreeing to produce certain documents concerning NSO’s identification
     of Plaintiffs’ vulnerabilities but only “from the time period between January 2018 and May 2019
26   [and] that relate to the identification of the specific WhatsApp vulnerability allegedly exploited by
     the Pegasus technology that was used with respect to the ‘Target Devices’ described in the
27   Complaint”). As a consequence, this unjustified objection as to the scope of discovery cuts across
     all current and future requests, and makes all of NSO’s responses deficient.
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 1   as “collectively, ‘Pegasus’”). The complaint also includes allegations about NSO’s pattern of

 2   targeting Plaintiffs’ servers, including that NSO manufactures, distributes, and operates an entire

 3   suite of customizable spyware products. See, e.g., id. (NSO “manufactured, distributed, and

 4   operated surveillance technology or ‘spyware’ designed to intercept and extract information and

 5   communications from mobile phones and devices”); id. ¶ 1 (NSO’s “malware was designed to

 6   infect the Target Devices for the purpose of conducting surveillance of specific WhatsApp users,”

 7   and NSO “developed [its] malware in order to access messages and other communications after

 8   they were decrypted on Target Devices” (emphasis added)); id. ¶ 25 (NSO “used other malware

 9   delivery methods”); id. ¶ 27 (NSO’s spyware is “modular” and “could be customized for different

10   purposes”); id. ¶ 32 (alleging “a number of steps” taken by NSO without authorization, including

11   “set[ting] up various computer infrastructure . . . used to infect the Target Devices and conceal

12   Defendants’ identity and involvement” (emphasis added)); id. ¶ 59 (NSO knowingly accessed and

13   without permission altered and used Plaintiffs’ systems in order to “devise and execute a scheme

14   and artifice to defraud and deceive”).

15          The extensive materials attached to the complaint likewise make clear that the wrongful

16   conduct at issue is much broader than the use of spyware under one particular brand name against

17   one particular set of users. See, e.g., id. Ex. 2 (marketing NSO spyware to United States Drug

18   Enforcement Agency); id. Ex. 4 (touting NSO’s “cyber analytic and intelligence solutions” (plural)

19   as well as intent to “launch[] new cutting edge products” (plural) and to “constantly evolve”); id.

20   Ex. 8 (promoting NSO’s “products” (plural)); id. Ex. 10 (describing “various installation methods”

21   (plural) even for Pegasus system itself). Plaintiffs are entitled to develop these claims through

22   discovery.

23          Moreover, NSO’s argument is incorrect as a matter of law. “Plaintiffs are entitled to

24   discovery regarding their claims generally, not just the specific factual claims pled in their

25   Complaint.” Vallabharpurapu, 276 F.R.D. at 615; see also Long v. Hewlett-Packard, Co., No.

26   C06-02816 JW (HRL), 2006 WL 3751447, at *2–3 (N.D. Cal. Dec. 19, 2006) (granting motion to

27   compel and rejecting argument that discovery should be limited to facts contained in the complaint

28   concerning two specific computer models owned by defendants). NSO cannot avoid its discovery
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 1   obligations through a narrow reading of the complaint. Rather, by attempting to narrow discovery

 2   to specific factual allegations, NSO ignores that “[r]elevancy should be ‘construed liberally and

 3   with common sense and discovery should be allowed unless the information sought has no

 4   conceivable bearing on the case.’” Simpson v. City of Upland, No. ED CV 18-1024-PSG (SPx),

 5   2019 WL 6703397, at *2 (C.D. Cal. Aug. 23, 2019) (quoting Soto v. City of Concord, 162 F.R.D.

 6   603, 610 (N.D. Cal. 1995)).

 7           Plaintiffs are also entitled to jurisdictional discovery. For example, Plaintiffs have

 8   requested documents regarding NSO’s efforts to develop and distribute surveillance technology and

 9   interactions with Facebook and WhatsApp servers and/or user devices. See, e.g., Perez-Marques

10   Decl. Ex. A (Pls.’ First Reqs. for Produc.) at Reqs. No. 1, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 16,

11   17, 23, 26. Such documents may identify spyware other than Pegasus that NSO has tested,

12   marketed, sold, and/or used in California or elsewhere in the United States. The mere fact that,

13   prior to discovery, Plaintiffs have succeeded in obtaining more information about Pegasus than

14   other NSO products does not mean that Pegasus is the only spyware at issue in this action, or that

15   NSO can limit its participation in discovery accordingly.

16           B.      Plaintiffs’ Requested Discovery Is Proportional to the Needs of the Case

17           Plaintiffs’ requested discovery is also “proportional to the needs of the case.” See Fed. R.

18   Civ. P. 26(b)(1) (noting factors for the court’s balancing, including “the importance of the issues at

19   stake in the action, the amount in controversy, the parties’ relative access to relevant information,

20   the parties’ resources, the importance of the discovery in resolving the issues, and whether the

21   burden or expense of the proposed discovery outweighs its likely benefit”). As an initial matter,

22   NSO has not made any particularized burden objection with respect to any of Plaintiffs’ RFPs, and

23   it is NSO’s burden to demonstrate that the requests cannot satisfy the proportionality requirements

24   of Rule 26(b)(1). See Kellgren v. Petco Animal Supplies, Inc., No. 13-cv-644 L (KSC), 2016 WL

25   4097521, at *2 (S.D. Cal. May 26, 2016) (“The party resisting discovery generally bears the burden

26   to show that the discovery requested is irrelevant to the issues in the case or is not proportional to

27   the needs of the case.”). The proportionality requirements of Rule 26(b)(1) are therefore

28   presumptively satisfied.
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 1          In any event, NSO can hardly argue that a lack of resources prohibits it from providing

 2   relevant documents. See Compl. Ex. 4 (NSO press release stating that NSO is a “global leader in

 3   providing cyber intelligence” and that “[t]he company has grown rapidly and finished 2018 with

 4   revenues of $250 million”). Indeed, the factors set out in Rule 26(b)(1) fall squarely in Plaintiffs’

 5   favor. The requested discovery goes to central issues in the case, and the issues at stake implicate

 6   the core of Plaintiffs’ business. See Nat.-Immunogenics Corp. v. Newport Trial Grp., No. SACV

 7   15-02034 JVS (JCGx), 2016 WL 11520758, at *3 (C.D. Cal. Oct. 25, 2016) (concluding that “the

 8   importance of [the requested] discovery outweighs the burden on the parties and is proportional to

 9   the case’s needs” where allegations are “at the heart of [the] case”). Plaintiffs seek documents to

10   which NSO has exclusive access and require such documents in order to understand NSO’s

11   clandestine activities. See Davis v. E. Idaho Health Servs., Inc., No. 4:16-cv-00193-BLW, 2017

12   WL 1737723, at *4 (D. Idaho May 3, 2017) (noting that defendant’s “sole access to the requested

13   documents” and status as “a large company able to bear the costs of such discovery” weighed in

14   favor of discovery). NSO’s efforts to shield its operations from scrutiny through discovery should

15   be rejected.

16                                             CONCLUSION

17          For the reasons above, Plaintiffs respectfully request that the Court order NSO to proceed

18   with collecting and producing without delay all documents responsive to Plaintiffs’ First Requests

19   for Production of Documents, without limiting such productions to documents concerning the use

20   of the Pegasus branded spyware or the 1,400 known victims identified prior to discovery.

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 1    Dated: August 5, 2020                       Respectfully Submitted,

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